

Matter of Alexandra R.R. v Doris H. (2023 NY Slip Op 04948)





Matter of Alexandra R.R. v Doris H.


2023 NY Slip Op 04948


Decided on October 03, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 03, 2023

Before: Oing, J.P., Friedman, Kennedy, Shulman, Pitt-Burke, JJ. 


Docket No. V-02372/22 V-02373/22 V-02374/22 Appeal No. 695 Case No. 2022-03178 

[*1]In the Matter of Alexandra R.R., Petitioner-Respondent,
vDoris H., Respondent-Respondent. Sophia H., et al., Nonparty Appellants. 


Heath J. Goldstein, Jamaica, for appellants.
George Mark Gilmer, Brooklyn, for Alexandra R.R., respondent.
Marion C. Perry, New York, for Doris H., respondent.



Order, Family Court, Bronx County (Fiordaliza A. Rodriguez, J.), entered on or about May 31, 2022, which, after a hearing, denied and dismissed without prejudice petitioner mother's petition for a writ of habeas corpus, unanimously affirmed, without costs.
Family Court properly denied the mother's petition for a writ of habeas corpus. Based on the testimony and documentary evidence, the court's conclusion that the Pennsylvania court's order provided the children's grandmother with a legal basis to have the children in her care was sound, as the Pennsylvania court had "exclusive, continuing jurisdiction" until it determined it no longer has jurisdiction (Domestic Relations Law § § 76-a [1], 77-b [1]). As petitions for writs of habeas corpus pertain to the illegal detention of a child by either parent, which is not present herein, the mother did not have a right to habeas corpus relief (Domestic Relations Law §70 [a]; see Matter of Kiara B. v Omar R., 147 AD3d 476 [1st Dept 2017]).
We have considered the mother's remaining contentions and find them unavailing. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 3, 2023








